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                     EXHIBIT 2
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                                                         LBRY Inc
                                                         Profit and Loss
                                                May 1, 2016 - December 7, 2022


                                                                                                         TOTAL
Income                                                                                           $14,261,290.66
GROSS PROFIT                                                                                     $14,261,290.66
Expenses
 Advertising                                                                                         342,257.71
 Bad Debts                                                                                             1,281.93
 Bank Charges                                                                                          4,006.94
 Charitable Contributions                                                                              5,833.49
 Commissions & fees                                                                                   46,020.00
 Computer & Internet                                                                                  71,360.71
 Creator LBC Buyback                                                                                  40,185.00
 Dues & Subscriptions                                                                                 39,521.28
 Insurance                                                                                            29,726.40
 Insurance - Liability                                                                                12,727.40
 International Employee & Freelance                                                                2,413,247.36
 Legal & Professional Fees                                                                         4,291,048.83
 Meals and Entertainment                                                                               8,897.24
 Office Expenses                                                                                      85,688.77
 Other General and Admin Expenses                                                                      2,453.65
 Payroll Expenses                                                                                  1,610,514.58
  Taxes                                                                                              421,895.12
  Wages                                                                                            5,253,342.94
 Total Payroll Expenses                                                                            7,285,752.64
 PR Firm Fees                                                                                        135,080.00
 Promotional                                                                                          14,223.71
 Reimbursements                                                                                      233,371.83
 Rent or Lease                                                                                       186,069.84
 Repair & Maintenance                                                                                     39.74
 Servers                                                                                           1,504,573.45
 Shipping and delivery expense                                                                           405.92
 Stationery & Printing                                                                                    39.00
 Subcontractors                                                                                       10,050.84
 Taxes & Licenses                                                                                     59,801.63
 Tools                                                                                                 3,725.28
 Travel                                                                                              158,187.78
 Travel Meals                                                                                         35,434.92
 Uncategorized Expense                                                                                26,445.41
 Utilities & SaaS                                                                                    458,276.71
Total Expenses                                                                                   $17,505,735.41
NET OPERATING INCOME                                                                             $ -3,244,444.75
Other Income                                                                                        $226,733.69
Other Expenses                                                                                    $2,994,164.86
NET OTHER INCOME                                                                                 $ -2,767,431.17




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                                             LBRY Inc
                                             Profit and Loss
                                    May 1, 2016 - December 7, 2022


                                                                                             TOTAL
NET INCOME                                                                           $ -6,011,875.92




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